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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ETC NORTHEAST PIPELINE, LLC                                         )    Case No. 2:19-cv-00662-NBF
                                                                    )
                Plaintiff and Counterclaim Defendant,               )
                                                                    )
        vs.                                                         )
                                                                    )
 EM ENERGY PENNSYLVANIA, LLC                                        )
                                                                    )
                Defendant and· Counterclaim Plaintiff.              )
                                                                    )

                                      ORDER OF COURT

       ANDNOW,this '21.>tdayof,                  ,Mne-                       , 2019, upon consideration of the

Joint Motion to Transfer Venue to the Delaware District Court, it is hereby ORDERED that the

present case be transferred to the District of Oelaware, f9r referral to the United States Bankruptcy

Court for the District of Delaware, pursuant to 28      u.s.c. §§ 1404; 141~               f'e,v.rhwrrh ·
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